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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 WOLFRAM ARNOLD, ERIK
 FROESE, TRACY HAWKINS,
 JOSEPH KILLIAN, LAURA CHAN
 PYTLARZ, and ANDREW
 SCHLAIKJER,

                           Plaintiffs,         C.A. No. 1: 23-cv-00528 CFC
              v.                               Declaration of Akiva M. Cohen
 X CORP. f/k/a TWITTER, INC., X
 HOLDINGS CORP. f/k/a X
 HOLDINGS I, INC. and ELON MUSK,

                           Defendants.

       DECLARATION OF AKIVA M. COHEN IN OPPOSITION TO
       DEFENDANTS’ MOTIONS TO DISMISS (D.I. 15 AND D.I. 18)

      I, Akiva M. Cohen, declare as follows:

      1. I am counsel to Plaintiffs Wolfram Arnold, Erik Froese, Tracy Hawkins,

Joseph Killian, Laura Chan Pytlarz, and Andrew Schlaikjer (collectively,

“Plaintiffs”), and make this declaration in opposition to Defendants’ motions to

dismiss. I have personal knowledge of the facts set forth herein and could and

would testify competently thereto if required to do so.

      2. Annexed hereto as Exhibit 1 is a true and correct copy of Twitter’s

Merger Agreement, dated April 25, 2022.
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      3. Attached hereto as Exhibit 2 is a true and correct copy of the Merger

Agreement between IntercontinentalExchange Inc., Board of Trade of the City of

New York, Inc., and CFC Acquisition Co., dated September 14, 2006, available at

https://www.sec.gov/Archives/edgar/data/1174746/000119312506237321/dex21.ht

m.

      4. Attached hereto as Exhibit 3 is a true and correct copy of the Complaint

in Crispo v. Musk, C.A. No. 2022-0666-KSJM (Del. C. Ch. July 29, 2022).

      5. Attached hereto as Exhibit 4 is a true and correct copy of the October

version of the Acquisition FAQ sent to Twitter employees. It is identical to the

document submitted as Exhibit B to Defendants’ request for judicial notice, but in

a more readable form.

         I declare under penalty of perjury under the laws of the State of Delaware

and the United States that the foregoing is true and correct.

         Executed this 21st day of August 2023 in New Brunswick, NJ.



                               _____________________________________
                                           Akiva M. Cohen




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